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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                    (Greenbelt Division)


 KILMAR ARMANDO ABREGO GARCIA,
   et al.,

 Plaintiffs,
                                                       No. 8:25-cv-00951-PX
                        v.                             Declaration Of Assistant Director
                                                       Evan C. Katz
 KRISTI NOEM, Secretary of Homeland
   Security, et al.,

 Defendants




                             DECLARATION OF EVAN C. KATZ


I, Evan C. Katz, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

       1.      I am Assistant Director for the Removal Division, within the Department of

Homeland Security, U.S. Immigration and Customs Enforcement (ICE) Enforcement and Removal

Operations (ERO).

       2.      In this capacity, I am responsible for leading the division, which is composed of

ICE Air Operations, International Operations, and Removal Management. I coordinate with the

25 ERO Field Offices to support case management and facilitate the removal of aliens from the

United States. I have held this position since December 2023. Before this assignment, I served as

the Acting Assistant Director for the Removal Division from January 2023 to November 2023 and

Deputy Assistant Director for the Removal Division from January 2015 to December 2022. I have

been in service with ICE since 2003 and prior to that, the Legacy Immigration and Naturalization

Service since November 1997.
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       3.      I provide this declaration based on my personal knowledge, reasonable inquiry, and

information obtained from various records, systems, databases, other Department of Homeland

Security (DHS) employees, and information portals maintained and relied upon by DHS in the

regular course of business.

       4.      I am aware that the instant lawsuit has been filed regarding the removal of Kilmer

Armando Abrego-Garcia (Abrego-Garcia) to El Salvador.

       5.      I am aware that after this Court’s preliminary injunction issued, that the

Government sought a stay pending appeal from the Fourth Circuit on the same day and ultimately

the Supreme Court. On March 7, Chief Justice Roberts issued an administrative stay of that

preliminary injunction order. On March 10, the Supreme Court held that “the deadline in the

challenged order is no longer effective” and that aspects of this Court’s injunction needed to be

clarified before they could become effective.

       6.      During proceedings in 2019, an immigration judge upheld DHS’s decision not to

grant bond, finding that DHS’s determination that he was a member of MS-13 was “trustworthy”

and “supported by other evidence,” and noted that Abrego-Garcia “failed to present evidence to

rebut that assertion.” The Board of Immigration Appeals upheld the finding when Abrego-Garcia

appealed.

       7.      On March 15, 2025, Abrego-Garcia, a native and citizen of El Salvador, was

removed to El Salvador, pursuant to Title 8 of the United States Code. Although Abrego-Garcia

has an order of removal issued by an immigration judge, I understand that he should not have been

removed to El Salvador because the immigration judge had also granted Abrego-Garcia

withholding of removal to El Salvador. However, I also understand that Abrego Garcia is no longer
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eligible for withholding of removal because of his membership in MS-13 which is now a

designated foreign terrorist organization.

       8.      I have reviewed the declaration of Mr. Michael Kozak, which was filed in this case

yesterday, April 12, 2025. It is my understanding that Defendants have no updates for the Court

beyond what was provided yesterday.



I declare under penalty of perjury that the foregoing is true and correct.


Executed this 13th day of April 2025.

                                             EVAN C KATZ          Digitally signed by EVAN C KATZ
                                                                  Date: 2025.04.13 16:38:41 -04'00'
                                              ____________________________

                                              Evan C. Katz
                                              Assistant Director
                                              Enforcement and Removal Operations
                                              U.S. Immigration and Customs Enforcement
                                              U.S. Department of Homeland Security
